         Case 1:22-cr-00673-LAK           Document 469
                                                   468 Filed 08/14/24
                                                              08/13/24 Page 1 of 1
                                                    U.S. Department of Justice
  [Type text]
                                                       United States Attorney
MEMO ENDORSED                                          Southern District of New York
                                                                                                        8/14/24
                                                      The Jacob K. Javits Federal Building
                                                      26 Federal Plaza, 37th Floor
                                                      New York, New York 10278


                                                       August 12, 2024

  By ECF

  The Honorable Lewis A. Kaplan
  United States District Court
  Southern District of New York
  500 Pearl Street
  New York, New York 10007

         Re:     United States v. Samuel Bankman-Fried, S6 22 Cr. 673 (LAK)

  Dear Judge Kaplan:

          The Government writes to respectfully request that the Court extend the deadline for its
  response to third-party ancillary petitions from the currently scheduled date of August 16, 2024 to
  August 30, 2024. The Government has been in discussions with the relevant parties in interest,
  and the extension of the Government’s deadline will allow the Government adequate time to
  continue these discussions and to respond to the filed petitions. The Government has
  communicated with counsel for Emergent Fidelity Technologies Ltd. (who filed their petition at
  Dkt. Nos. 446, 447), FTX Trading Ltd. (Dkt. No. 450), and the MDL Plaintiff class (Dkt. No. 454),
  all of whom consent to the extension of this deadline.



                                                       Respectfully,

                                                       DAMIAN WILLIAMS
                                                       United States Attorney

                                               By:     /s Samuel Raymond
                                                       Danielle R. Sassoon
                                                       Nicolas Roos
                                                       Danielle Kudla
                                                       Samuel Raymond
                                                       Thane Rehn
                                                       Assistant United States Attorneys
                                                       (212) 637-6519

         Granted.

                                8/14/24
